                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CRIMINAL CASE NO. 3:16-CR-218-FDW-DSC


 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )                    ORDER
 v.                                               )
                                                  )
 ANTONIO CARMONA                                  )
                                                  )
                  Defendant.                      )



        THIS MATTER is before the Court on the “Application for Admission to Practice Pro

Hac Vice [for Noe L. Perez]” (documents # 31) filed September 9, 2016. For the reasons set forth

therein, the Motion will be granted.


        The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Frank D. Whitney.


        SO ORDERED.
                                         Signed: September 14, 2016




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